      Case: 1:17-cv-05080 Document #: 39 Filed: 09/19/18 Page 1 of 2 PageID #:166



                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND                       )
SOUTHWEST AREAS PENSION FUND;                       )
and ARTHUR H. BUNTE, JR., as Trustee,               )
                                                    )    Case No. 17-cv-5080
                   Plaintiffs-Judgment Creditors,   )
                                                    )    Judge Edmond E. Chang
                   v.                               )
                                                    )    Magistrate Judge Jeffrey T. Gilbert
G. L. WARREN CONSTRUCTION, INC.,                    )
an Illinois corporation,                            )
                                                    )
                   Defendant-Judgment Debtor.       )

                                    SATISFACTION OF JUDGMENT

         NOW COME Plaintiffs/Judgment-Creditors, Central States, Southeast and

Southwest Areas Pension Fund and Arthur H. Bunte Jr., through their counsel, having

received satisfaction and payment, and hereby release the Judgment entered against

Defendant/Judgment-Debtor G. L. Warren Construction, Inc. on August 24, 2017 (Dkt.

22) in accordance with the parties’ Settlement Agreement and Release.

                                                    Respectfully submitted,

                                                    /s/ Brandon A. Buyers
                                                    Brandon A. Buyers (#6312454)
                                                    CENTRAL STATES FUNDS
                                                    Law Department
                                                    9377 W. Higgins Road, 10th Floor
                                                    Rosemont, Illinois 60018
                                                    847-939-2464
                                                    bbuyers@centralstatesfunds.org

September 19, 2018                                  ATTORNEY FOR PLAINTIFFS




TM: 568654 / 17414104 / 5/29/2018
      Case: 1:17-cv-05080 Document #: 39 Filed: 09/19/18 Page 2 of 2 PageID #:167



                                    CERTIFICATE OF SERVICE

         I, Brandon A. Buyers, one of the attorneys for Plaintiffs-Judgment Creditors,

hereby certify that on September 19, 2018, I electronically filed the foregoing Satisfaction

of Judgment with the Clerk of the Court using the ECF System. The filing was served on

all parties indicated on the electronic filing receipt via the EFC System.


                                                 Respectfully submitted,

                                                 /s/ Brandon A. Buyers
                                                 Brandon A. Buyers (#6312454)
                                                 CENTRAL STATES FUNDS
                                                 Law Department
                                                 9377 W. Higgins Road, 10th Floor
                                                 Rosemont, Illinois 60018
                                                 847-939-2464
                                                 bbuyers@centralstatesfunds.org

September 19, 2018                               ATTORNEY FOR PLAINTIFFS




TM: 568654 / 17414104 / 5/29/2018
